     Case 2:19-cv-08611-JWH-PLA Document 31 Filed 11/06/20 Page 1 of 1 Page ID #:155



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 6
                           UNITED STATES DISTRICT COURT
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 8
                         CENTRAL DISTRICT OF CALIFORNIA

 9     EDGAR VILLALPANDO,                          Case No.: 2:19-cv-08611-JWH-PLAx

10
                                                   ORDER TO DISMISS ACTION
                         Plaintiff,                WITH PREJUDICE PURSUANT TO
11           vs.                                   SETTLEMENT

12
                                                   Complaint Filed: October 7, 2019
       BLAIR ADHESIVE PRODUCTS
13
                         Defendant.
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15
            Good cause appearing, and the parties having stipulated and agreed,
16
            IT IS HEREBY ORDERED that the parties’ Joint Stipulation to Dismiss
17
      Action with Prejudice Pursuant to Settlement is GRANTED.
18
            IT IS FURTHER ORDERED that Plaintiff Edgar Villalpando’s claims against
19
      Defendant Blair Adhesive Products, as set forth in the July 24, 2019, Notice of
20
      Violations and October 7, 2019, Complaint filed in Case No.: 2:19-cv-08611-JWH-
21
      PLA, are hereby dismissed with prejudice.
22

23
      PURSUANT TO STIPULATION, IT IS SO ORDERED.
24

25
      Dated: November 6, 2020              ________________________________
26
                                           HON. JOHN W. HOLCOMB
27                                         UNITED STATES DISTRICT JUDGE
28

                                             -1-
               ORDER TO DISMISS ACTION WITH PREJUDICE PURSUANT TO SETTLEMENT
